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Sherwood, Zachary W. (CIV)

From:                              Burghard, Christina (EOIR)
Sent:                              Thursday, April 3, 2025 10:00 AM
To:                                Flinn, Sarah M. (EOIR); Gorman, Stephanie (EOIR)
Subject:                           FW: Exercise of the contracts option period of performance

Follow Up Flag:                    Follow up
Flag Status:                       Flagged


Good morning,

I received the following guidance from JMD that they received instructions to freeze all contracts starting 3/29/25
unless considered “mission essential”.

The following list of JMD contracts with OP applies to this directive. The mission essential justiﬁcation, OBD-186,
and SOW must be received by JMD within 60-90 days of the contract expiring. For ease, I placed that timeframe in
the table below. I’m going to check with Christina Murray on whether this applies to the LASRF contract since we
are past that timeframe already.

 Contract Name       Contract ID               Contract Expires             60-90 Days Prior to Expiration           FY24 Funds O
 NQRP                15JPSS22F00000704         7/31/2025                    May 2, 2025 – June 1, 2025               $14,558,470.3
 FGLOP               15JPSS22F00000699         8/31/2025                    June 2, 2025 – July 2, 2025              $4,925,972.84
 CCI                 15JPSS22F00000700         7/31/2025                    May 2, 2025 – June 1, 2025               $2,632,910.00
 LOP/LOPC            15JPSS23F00000154         8/31/2025                    June 2, 2025 – July 2, 2025              $22,446,583.3
 LASRF               15JPSS24F00000418         4/30/2025                    January 30, 2025 – March 1, 2025         $3,458,434.58
 ICH                 15JPSS22F00000701         8/31/2025                    June 2, 2025 – July 2, 2025              $8,705,629.17
 IDIQ                15JPSS22D00000013         8/31/2025                    June 2, 2025 – July 2, 2025              $0.00
                                                                                                                     $56,728,000.2

Thank you,
Chrissy

From: Ibrahim, Sally S. (JMD)
Sent: Thursday, April 3, 2025 9:03 AM
Cc: Jackson, Michael D. (JMD) ; Murray, Christina (JMD)
Subject: Exercise of the contracts option period of performance

Good morning,

Reference Executive Order (E.O.) 14222, Implementing the President’s “Department of Government Efficiency” Cost
Efficiency Initiative, please note that PSS received instructions to freeze all contracts starting March 29, 2025 and moving
forward unless the award is considered “mission essential”.

To ensure compliance, PSS is requesting the cooperation of the program offices for the exercise of the contracts option
period of performance that is due on or before September 30, 2025, as follows:

1) A written justification has to be submitted to justify why the requirement is “mission essential”. The justification has
   to include the contract number, the option period of performance start and end dates, the relevant statute, the mission
                                                             1
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    essential thorough explanation, the appropriation type (annual or no-year), and the funding mechanism (full funding,
    or incremental funding). The justification will be reviewed for a final determination by PSS.

2) OBD-186 (funding document) has to include a statement “mission essential” along with a brief justification. The
   OBD-186 has to demonstrate funding available for the total value of the option period or a minimum of three - six
   months funding is required if the total value is not currently available. The lack of adequate funding is an indication
   that the requirement is not mission essential.

3) The procurement package to exercise the option period has to be received by PSS at least 60 - 90 days prior to the
   contract current period of performance expiration date.

Unfortunately, if the above is not received by PSS within the required time frame; there is a high risk of not exercising the
following option period of performance.

Regards,

Sally Ibrahim, M.B.A.
Contracting Officer
Procurement Services Staff (PSS)
U.S. Department of Justice




                                                              2
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              Case 1:25-cv-00298-RDM             Document 65-2           Filed 04/24/25   Page 3 of 41


Sherwood, Zachary W. (CIV)

From:                             Hahn, Kristen B. (JMD)
Sent:                             Friday, April 4, 2025 9:07 AM
To:                               Rubenstein, Arie M. (JMD)
Subject:                          FW: [EXTERNAL] Acacia




From: Posner, Morton J. (JMD)
Sent: Friday, April 4, 2025 8:35 AM
To: Hahn, Kristen B. (JMD)
Subject: FW: [EXTERNAL] Acacia




From: Taylor, William N. (JMD)
Sent: Thursday, April 3, 2025 7:30 PM
To: Lauria, Jolene A. (JMD)
Cc: Jamison, Tara (JMD)                               ; Posner, Morton J. (JMD)
Subject: RE: [EXTERNAL] Acacia

Scratch that. It looks like Tarak got in touch with a PSS CO whom I’ve never met before (Allison Polizzi)
and got her to agree to send the termination notice by email and someone can effectuate the termination
formally tomorrow. He’s about to email me and loop her in. The contract is with EOIR under MEGA5 with
Acacia Center for Justice. The Acacia Center for Justice is a non-profit organization that focuses on
providing legal defense to immigrants at risk of detention or deportation. Its key activities include:
    Building and strengthening immigrant legal defense programs for adults and children across
       the country4.
    Partnering with a national network of human rights defenders to support legal services2.
    Advocating for meaningful access to justice and freedom for immigrants3.
    Securing funding for immigration legal services and managing equitable programs4.
    Fostering partnerships and advocating for systemic changes to enhance access to justice5.




William N. Taylor II
Deputy Assistant Attorney General
Justice Management Division
U.S. Department of Justice
O ice:                | Mobile:
Unclass Email:
Secret:                                        |TS:

From: Lauria, Jolene A. (JMD)
Sent: Thursday, April 3, 2025 7:25 PM
To: Taylor, William N. (JMD)
                                                              1
        Admin. Rec.3
             Case 1:25-cv-00298-RDM            Document 65-2       Filed 04/24/25      Page 4 of 41
Cc: Jamison, Tara (JMD)                          Posner, Morton J. (JMD)
Subject: Re: [EXTERNAL] Acacia

What is the contract. What is it for. Nothing will happen between tonight and tomorrow in terms of
additional spending.


Sent from my iPhone


       On Apr 3, 2025, at 7:22 PM, Taylor, William N. (JMD)                                     wrote:


       Jolene – I don’t think we can accomplish what he’s asking. For one, we don’t have CO’s
       available to log in and cancel contracts at this time of night. Second, he is asking us to
       cancel a contract that may have a temporary restraining order according to EOIR. I haven’t
       seen the TRO to confirm its existence but Tarak argues doesn’t preclude DOJ from
       terminating the contract for convenience.

                                                                                               I am
       being rushed to act by Tarak who is calling me as I type this message.

       William N. Taylor II
       Deputy Assistant Attorney General
       Justice Management Division
       U.S. Department of Justice
       O ice:                | Mobile:
       Unclass Email:
       Secret:                                     |TS:

       From: Makecha, Tarak (JMD)
       Sent: Thursday, April 3, 2025 6:25 PM
       To: Taylor, William N. (JMD)                            ; Jamison, Tara (JMD)

       Cc: Auterman, Brenda L. (JMD)
       Subject: RE: [EXTERNAL] Acacia

       See attached. Email I have is

       Please execute this termination today and please forward me the termination email to
       confirm it went out so I can report completion to WH.

       From: Taylor, William N. (JMD)
       Sent: Thursday, April 3, 2025 6:09 PM
       To: Makecha, Tarak (JMD)                               Jamison, Tara (JMD)

       Cc: Auterman, Brenda L. (JMD)
       Subject: RE: [EXTERNAL] Acacia

                                                          2
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+ Tara

William N. Taylor II
Deputy Assistant Attorney General
Justice Management Division
U.S. Department of Justice
O ice:                | Mobile:
Unclass Email:
Secret:                                     |TS:

From: Makecha, Tarak (JMD)
Sent: Thursday, April 3, 2025 6:08 PM
To: Taylor, William N. (JMD)
Subject: FW: [EXTERNAL] Acacia




From: Josh Gruenbaum - Q <
Sent: Thursday, April 3, 2025 6:06 PM
To: Makecha, Tarak (JMD) <
Subject: [EXTERNAL] Acacia


15JPSS23F00000154
15JPSS22F00000701
15JPSS22F00000700
15JPSS22F00000704
15JPSS22F00000699
15JPSS24F00000418
15JPSS22D00000013




          U.S. General Services Administration

          Josh Gruenbaum, Esq.
          Commissioner of Federal Acquisition Service




<DoJ Termination for Convenience_Acacia.docx>




                                                   3
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Sherwood, Zachary W. (CIV)

From:                          Hahn, Kristen B. (JMD)
Sent:                          Friday, April 4, 2025 9:26 AM
To:                            Rubenstein, Arie M. (JMD)
Subject:                       Fwd: Termination for Convenience
Attachments:                   DoJ Termination for Convenience_Acacia.pdf




Sent from my iPhone

Begin forwarded message:

      From: "Jackson, Michael D. (JMD)"
      Date: April 4, 2025 at 9:19:08 AM EDT
      To: "Hahn, Kristen B. (JMD)"
      Subject: FW: Termination for Convenience




      Michael D. Jackson
      Assistant Director, AMG-OBD
      JMD Procurement Services Staff
      2 CON Building, 145 N Street, NE, Room 8E.113 Washington, D.C. 20530
      Tel:                | Email:

      From: Polizzi, Allison J. (JMD)
      Sent: Thursday, April 3, 2025 7:48 PM
      To:       @acaciajustice.org
      Subject: Termination for Convenience

      Good evening. Please see the attached letter for the termination for convenience for
      contracts with the Department of Justice.

      Regards,

      Allison J. Polizzi
      Contracting Officer, Offices, Boards, & Divisions
      JMD Procurement Services Staff
      Department of Justice
      2 CON Building, 145 N Street, NE, Room 8E.115 Washington, D.C. 20530
      Tel:               | Email:


      Sent from my iPhone

                                                       1
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VIA: Electronic Mail
                        NOTICE OF TERMINATION FOR CONVENIENCE

Date: April 3, 2025
Vendor Name: Acacia Center for Justice
Subject: Termination for Convenience

Dear Acacia Center for Justice,

This email’s purpose is to notify your firm the contracts tied to the procurement instrument identifications
(PIID) listed below and all subsequent call orders is hereby terminated for convenience effective April 3,
2025, per clause FAR 52.212-4(l) (Termination for the Government’s Convenience).

PIIDs:
 15JPSS22F00000699
 15JPSS22F00000701
 15JPSS22F00000700
 15JPSS22F00000702
 15JPSS22F00000703
 15JPSS22F00000704
 15JPSS24F00000418
 15JPSS23F00000154

The Agency has determined that the services are no longer needed. Effective April 3, 2025, please
discontinue providing the services to the United States Department of Justice and its entities.

Please submit your final invoice with any reasonable charges that result from this termination.

If you have any questions, please feel free to contact me.

Sincerely,


Allison J. Polizzi
Contracting Officer
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530

                Please acknowledge receipt of this Notice of Termination for Convenience

                                                (End of Notice)



                        950 Pennsylvania Avenue, NW          Washington, DC 20530

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Sherwood, Zachary W. (CIV)

From:                                    Owen, Sirce E. (EOIR)
Sent:                                    Thursday, April 3, 2025 8:45 PM
To:                                      Murray, Christina (JMD)
Cc:                                      Burghard, Christina (EOIR); Radics, Gregory (EOIR)
Subject:                                 Acacia contract



Please notify Acacia immediately that we are terminating their contract as of 11:59 pm. E.S.T., Tuesday,
April 8, 2025. It is my understanding that DOGE contacted JMD this afternoon and instructed them to
terminate the contract. I was not privy to that conversation, but whoever they spoke to at JMD knows the
basis for the termination.


Sirce E. Owen
Director (Acting)




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contain sensitive or legally privileged information. If the reader is not the intended recipient, you are hereby notiﬁed that any dissemination,
distribution, use or copying of this message is strictly prohibited. If you have received this in error, please notify the sender immediately and
delete or destroy this message.




                                                                        1
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Sherwood, Zachary W. (CIV)

From:                                  Gorman, Stephanie (EOIR)
Sent:                                  Friday, April 4, 2025 12:10 PM
To:                                    Owen, Sirce E. (EOIR)
Subject:                               FW: DOJ Outreach on Contract
Attachments:                           DoJ Termination for Convenience_Acacia.pdf

Importance:                            High


Please see email correspondence by Acacia to the COs and the CORE. Apparently, some form of notification
was sent.

Respectfully,

Stephanie E. Gorman
Assistant Director (Acting), Office of Policy
U.S. Dept. of Justice/Executive Office for Immigration Review
Mobile:




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sender immediately and delete or destroy this message.




From: Burghard, Christina (EOIR)
Sent: Friday, April 4, 2025 12:05 PM
To: Gorman, Stephanie (EOIR)                                            ; Flinn, Sarah M. (EOIR)
Subject: FW: DOJ Outreach on Contract

FYI

From: Leah Prestamo
Sent: Friday, April 4, 2025 12:03 PM
To: Murray, Christina (JMD)
Cc: Ibrahim, Sally S. (JMD)                                    ; Burghard, Christina (EOIR)
Subject: [EXTERNAL] DOJ Outreach on Contract

Dear Christina,

Yesterday evening we received the attached notice from an unknown sender and appearing to be sent from an
iPhone. We do not know if this was legitimately sent from DOJ or who this sender is. Please provide guidance on
whether this is e ective for our contracts. The signatory is not the contracting o icer on Acacia’s contracts.

Best,
                                                                    1
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Leah

                          Leah Prestamo (she/her)
                          General Counsel
                          Working on Eastern Time

                          Acacia Center for Justice
                          acaciajustice.org

This message contains information which may be confidential and privileged. Unless you are the addressee (or authorized to receive
for the addressee), you may not use, copy or disclose to anyone the message or any information contained in the message. If y ou have
received the message in error, please advise the sender by reply e-mail and delete the message.




                                                                  2
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Sherwood, Zachary W. (CIV)

From:                                Burghard, Christina (EOIR)
Sent:                                Friday, April 4, 2025 1:48 PM
To:                                  Gorman, Stephanie (EOIR); Flinn, Sarah M. (EOIR)
Subject:                             Fw: DOJ Outreach on Contract




Get Outlook for iOS

From: Leah Prestamo
Sent: Friday, April 4, 2025 1:39 PM
To: Murray, Christina (JMD)
Cc: Ibrahim, Sally S. (JMD) ; Burghard, Christina (EOIR)
Subject: [EXTERNAL] RE: DOJ Outreach on Contract
Hi Christina,
I’m following up on my email below. We urgently need to know if this is a real DOJ communication, who our current
CO is, and whether Acacia needs to be taking action at this time.
Best,
Leah
                        Leah Prestamo (she/her)
                        General Counsel
                        Working on Eastern Time

                         Acacia Center for Justice
                         acaciajustice.org
This message contains information which may be confidential and privileged. Unless you are the addressee (or authorized to receive
for the addressee), you may not use, copy or disclose to anyone the message or any information contained in the message. If y ou have
received the message in error, please advise the sender by reply e-mail and delete the message.
From: Leah Prestamo
Sent: Friday, April 4, 2025 12:03 PM
To: Murray, Christina (JMD)
Cc: Ibrahim, Sally S. (JMD) ; Burghard, Christina (EOIR)
Subject: DOJ Outreach on Contract
Dear Christina,
Yesterday evening we received the attached notice from an unknown sender and appearing to be sent from an
iPhone. We do not know if this was legitimately sent from DOJ or who this sender is. Please provide guidance on
whether this is effective for our contracts. The signatory is not the contracting officer on Acacia’s contracts.
Best,
Leah
                        Leah Prestamo (she/her)
                        General Counsel
                        Working on Eastern Time

                         Acacia Center for Justice
                         acaciajustice.org
This message contains information which may be confidential and privileged. Unless you are the addressee (or authorized to receive
for the addressee), you may not use, copy or disclose to anyone the message or any information contained in the message. If y ou have
received the message in error, please advise the sender by reply e-mail and delete the message.




                                                                  1
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Sherwood, Zachary W. (CIV)

From:                                Leah Prestamo
Sent:                                Friday, April 4, 2025 3:29 PM
To:                                  Polizzi, Allison J. (JMD)
Cc:                                  Burghard, Christina (EOIR); Murray, Christina (JMD); Ibrahim, Sally S. (JMD)
Subject:                             [EXTERNAL] RE: Termination for Convenience
Attachments:                         DoJ Termination for Convenience_Acacia.pdf


Dear Allison Polizzi,

We received the email correspondence below and the attached notice. If the contracting officer for this award has
been changed, Acacia will need a duly executed modification to that effect. If you are the contracting officer for
this action, please forward a contract modification to my attention.

Best,
Leah

                          Leah Prestamo (she/her)
                          General Counsel
                          Working on Eastern Time

                          Acacia Center for Justice
                          acaciajustice.org

This message contains information which may be confidential and privileged. Unless you are the addressee (or authorized to receive
for the addressee), you may not use, copy or disclose to anyone the message or any information contained in the message. If y ou have
received the message in error, please advise the sender by reply e-mail and delete the message.



From: Polizzi, Allison J. (JMD)
Sent: Thursday, April 3, 2025 4:48 PM
To: General Mailbox
Subject: Termination for Convenience

Good evening. Please see the attached letter for the termination for convenience for contracts with the
Department of Justice.

Regards,

Allison J. Polizzi
Contracting Officer, Offices, Boards, & Divisions
JMD Procurement Services Staff
Department of Justice
2 CON Building, 145 N Street, NE, Room 8E.115 Washington, D.C. 20530
Tel:               | Email:


Sent from my iPhone

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                                                                   U.S. Department of Justice
                                                                   Justice Management Division
                                                                   Procurement Services Staff
                                                                   Washington, D.C. 20530

April 4, 2025

Acacia Center for Justice
ATTN: Leah Prestamo
1025 Connecticut Ave, Suite 701
Washington, DC 20036-5417

Subject: Rescission of April 3, 2025 Notice

Dear Ms. Prestamo,

On April 3, 2025, you received an email and

2025 communication. Please disregard that communication in its entirety, which has no legal
effect.

The contracts and task orders referenced in the April 3, 2025 communication remain in place,
and will remain in place, until further notice.

If you have any questions, please feel free to contact me.

Sincerely,




Christina Y. Murray
Contracting Officer
U. S. Department of Justice
145 N Street NE
Washington, DC 20530




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Sherwood, Zachary W. (CIV)

From:                                    Owen, Sirce E. (EOIR)
Sent:                                    Monday, April 7, 2025 9:58 AM
To:                                      Makecha, Tarak (JMD); Radics, Gregory (EOIR)
Cc:                                      Conklin, Hayley (OAG); Warden, Andrew (CIV)
Subject:                                 RE: Acacia Contract - Next Steps



We are currently reviewing the various task orders under the Acacia contract to determine which ones
are required by court order and which ones can be wound down.

Sirce E. Owen
Director (Acting)




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contain sensitive or legally privileged information. If the reader is not the intended recipient, you are hereby notiﬁed that any dissemination,
distribution, use or copying of this message is strictly prohibited. If you have received this in error, please notify the sender immediately and
delete or destroy this message.


From: Makecha, Tarak (JMD)
Sent: Monday, April 7, 2025 9:48 AM
To: Owen, Sirce E. (EOIR)                                        Radics, Gregory (EOIR)
Cc: Conklin, Hayley (OAG)                                          Warden, Andrew (CIV) <Andrew.Warden@usdoj.gov>
Subject: Acacia Contract - Next Steps

Team,

I understand that the contract termination for Acacia was pulled on Friday. I was briefed that one issue
was a three-day lead time required for the termination notice, which is an easy ﬁx.

The more nuanced issue, as I understand it, was an analysis on broader court cases related to Acacia.

Sirce and Greg, I was given you names as the people working through that analysis. Do you all have a
sense on next steps and timing? If you aren’t the right POCs, please direct me to the people that are
working on the analysis,

Thanks,
Tarak




                                                                        1
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 From:            Gorman, Stephanie (EOIR)
 To:              Owen, Sirce E. (EOIR)
 Subject:         Acacia Wind-Down Recommendation
 Date:            Wednesday, April 9, 2025 9:00:53 AM



 Director Owen,

 Please see recommendation from Office of Policy.


 *Please note that for all terminations, termination fees may apply.*
 Legal Orientation Program / Legal Orientation Program for Custodians of Unaccompanied
 Alien Children
       15JPSS23F00000154
       LOP: Three-day notice to terminate services for LOP pursuant to Amica Center for Immigrant
       Rights et al v. United States Department of Justice et al, 1:25-cv-00298-RDM.
       LOPC: 30-day notice terminate services for LOPC to allow EOIR to continue to meet statutory
       obligations outlined in the William Wilberforce Trafficking Victims Protection Reauthorization
       Act of 2008 (Pub. L. 110-457). Going forward, obligations would be met under a federalized
       program.
 Immigration Court Helpdesk
       15JPSS22F00000701
       Three-day notice of termination pursuant to the Amica Center for Immigrant Rights et al v.
       United States Department of Justice et al, 1:25-cv-00298-RDM.
 Counsel for Children Initiative
       15JPSS22F00000700
       60-day wind down period to end representation funded by EOIR on these cases which will
       allow for representatives to withdraw and facilitate finding other representation (not funded by
       the Government) for these individuals.
 Family Group Legal Orientation Program
       15JPSS22F00000699
       Three-day notice of termination pursuant to the Amica Center for Immigrant Rights et al v.
       United States Department of Justice et al, 1:25-cv-00298-RDM.
       Note: This needs to be communicated to DHS.
 Legal Access Services for Reunified Families
       15JPSS24F00000418
       Do not renew – expires on April 30, 2025
                Recommend offering federal positions (not to exceed 1 or 2 year) funded by settlement
                funds currently at EOIR.
 National Qualified Representative Program
       15JPSS22F00000704
       No termination – request to finish current task order year which ends on July 31, 2025. This is a
       little less than 120 days and allows for procurement activity to meet obligations under
       permanent injunction in Franco.


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       Reduction in scope to not include Nationwide Policy cases. For those 60 days to end
       representation funded by EOIR on these cases which will allow for representatives to
       withdraw and facilitate finding other representation (not funded by the Government) for these
       individuals.


 Stephanie E. Gorman
 Assistant Director (Acting), Office of Policy
 U.S. Dept. of Justice/Executive Office for Immigration Review
 Mobile:




 ATTORNEY WORK PRODUCT. This communication and its contents, including any
 attachments, are pre-decisional and prepared in anticipation of litigation, and are subject to
 the Deliberative Process privilege, Attorney Work Product privilege, and/or the Attorney-
 Client privilege pursuant to 5 USC 552(b)(5).




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Sherwood, Zachary W. (CIV)

From:                              Flinn, Sarah M. (EOIR)
Sent:                              Wednesday, April 9, 2025 3:18 PM
To:                                Owen, Sirce E. (EOIR); Gorman, Stephanie (EOIR)
Subject:                           FW: ACACIA Contracts


Good afternoon, Director Owen,

I am forwarding this to you in advance of AD Gorman’s call.

Sarah

From: Adkins, Nikki N. (EOIR)
Sent: Wednesday, April 9, 2025 2:32 PM
To: Ibrahim, Sally S. (JMD) ; Murray, Christina (JMD) ; Burghard, Christina (EOIR) ; Jackson, Michael D. (JMD)
Subject: ACACIA Contracts

Good Afternoon,

EOIR is requesting the following changes to the ACACIA contract. Thanks - Nikki

Please issue a Notice of Intent to Acacia for the following task orders to be Terminated for
Convenience e ective Tuesday, April 15, 2025, at 11:59 p.m.:

    -   FGLOP
    -   ICH
    -   CCI (Fixed Price)
    -   LOP/LOPC

Please issue a Notice of Intent to NOT exercise the option year e ective 4/30/2025:
   - LASRF (Fixed Price)

Please issue a modiﬁcation e ective Tuesday, April 15, 2025, ceasing work on the Nationwide
Policy (NWP) portion of the award. Franco services will continue through the end of the POP of July
31, 2025. Please issue a Notice of Intent to NOT exercise the option year e ective July 31, 2025.

    -   NQRP (Fixed Price)




                                                             1
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Sherwood, Zachary W. (CIV)

From:                                  Gorman, Stephanie (EOIR)
Sent:                                  Wednesday, April 9, 2025 4:34 PM
To:                                    Burghard, Christina (EOIR)
Cc:                                    Flinn, Sarah M. (EOIR); Tennyson, Mike (EOIR); Adkins, Nikki N. (EOIR)
Subject:                               RE: Update on Meeting with JMD on Acacia Contract


Chrissy,

As discussed, EOIR is taking further action to ensure that the 3-day cancellation notice is delivered today.

Thank you,


Stephanie E. Gorman
Assistant Director (Acting), Office of Policy
U.S. Dept. of Justice/Executive Office for Immigration Review
Mobile:




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contain sensitive or legally privileged information. If the reader is not the intended recipient, you are hereby notified that any
dissemination, distribution, use or copying of this message is strictly prohibited. If you have received this in error, please notify the
sender immediately and delete or destroy this message.




From: Burghard, Christina (EOIR)
Sent: Wednesday, April 9, 2025 3:01 PM
To: Flinn, Sarah M. (EOIR)                         ; Gorman, Stephanie (EOIR)
Cc: Adkins, Nikki N. (EOIR)
Subject: Update on Meeting with JMD on Acacia Contract

Good afternoon,

I wanted to provide an update on our recent meeting with Michael Jackson and Christina Murray at JMD regarding
EOIR’s request on changes to the Acacia contract. They conﬁrmed they will issue notices tomorrow to Acacia to
terminate FGLOP, ICH, CCI, and LOP/LOPC e ective Tuesday, April 15, 2025, at 11:59 p.m.

Additionally, they agree to provide notice to Acacia tomorrow on our intent to not exercise the option year for both
LASRF and NQRP, with a modiﬁcation to NQRP e ective April 15, 2025 to cease work on the Nationwide Policy
portion of the award. Attached are further details on our request that was sent over to JMD following our meeting
today.

Please let me know if you have any questions.

Thanks,
                                                                    1
         Admin. Rec.18
              Case 1:25-cv-00298-RDM       Document 65-2   Filed 04/24/25   Page 19 of 41
Chrissy

Chrissy Burghard
Administrative Officer, Office of Policy
Cell:
Email:




                                                   2
          Admin. Rec.19
               Case 1:25-cv-00298-RDM                     Document 65-2             Filed 04/24/25           Page 20 of 41


Sherwood, Zachary W. (CIV)

From:                                    Burghard, Christina (EOIR)
Sent:                                    Thursday, April 10, 2025 11:50 AM
To:                                      Flinn, Sarah M. (EOIR); Gorman, Stephanie (EOIR)
Subject:                                 FW: ACACIA Contracts




From: Owen, Sirce E. (EOIR)
Sent: Thursday, April 10, 2025 11:49 AM
To: Jackson, Michael D. (JMD) ; Murray, Christina (JMD) ; Ibrahim, Sally S. (JMD) ; Burghard, Christina (EOIR)
Subject: FW: ACACIA Contracts

Resending.

EOIR is requesting the following changes to the ACACIA contract. Thank you.


Please issue a Notice of Intent to Acacia for the following task orders to be Terminated for
Convenience effective Tuesday, April 15, 2025, at 11:59 p.m.:

        FGLOP 15JPSS22F00000699
        ICH 15JPSS22F00000701
        CCI (Fixed Price) 15JPSS22F00000700
        LOP/LOPC 15JPSS23F00000154

Please issue a Notice of Intent to NOT exercise the option year effective 4/30/2025:
    LASRF (Fixed Price) 15JPSS24F00000418

Please issue a modification effective Tuesday, April 15, 2025, ceasing work on the Nationwide
Policy (NWP) portion of the award. Franco services will continue through the end of the POP of July
31, 2025. Please issue a Notice of Intent to NOT exercise the option year effective July 31, 2025.

        NQRP (Fixed Price) 15JPSS22F00000704


Sirce E. Owen
Director (Acting)




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contain sensitive or legally privileged information. If the reader is not the intended recipient, you are hereby notiﬁed that any dissemination,
distribution, use or copying of this message is strictly prohibited. If you have received this in error, please notify the sender immediately and
delete or destroy this message.
                                                                        1
         Admin. Rec.20
              Case 1:25-cv-00298-RDM     Document 65-2        Filed 04/24/25       Page 21 of 41



From: Adkins, Nikki N. (EOIR)
Sent: Thursday, April 10, 2025 9:38 AM
To: Jackson, Michael D. (JMD)                         >; Murray, Christina (JMD)                        >;
Ibrahim, Sally S. (JMD)                    >; Burghard, Christina (EOIR)                           >
Subject: RE: ACACIA Contracts

Hi Michael,

Below is the updated information to include the task order numbers.

EOIR is requesting the following changes to the ACACIA contract. Thanks – Nikki

Please issue a Notice of Intent to Acacia for the following task orders to be Terminated for
Convenience effective Tuesday, April 15, 2025, at 11:59 p.m.:

      FGLOP 15JPSS22F00000699
      ICH 15JPSS22F00000701
      CCI (Fixed Price) 15JPSS22F00000700
      LOP/LOPC 15JPSS23F00000154

Please issue a Notice of Intent to NOT exercise the option year effective 4/30/2025:
    LASRF (Fixed Price) 15JPSS24F00000418

Please issue a modification effective Tuesday, April 15, 2025, ceasing work on the Nationwide
Policy (NWP) portion of the award. Franco services will continue through the end of the POP of July
31, 2025. Please issue a Notice of Intent to NOT exercise the option year effective July 31, 2025.

      NQRP (Fixed Price) 15JPSS22F00000704


From: Jackson, Michael D. (JMD)                          >
Sent: Thursday, April 10, 2025 8:41 AM
To: Adkins, Nikki N. (EOIR)                     ; Murray, Christina (JMD)                           ;
Ibrahim, Sally S. (JMD)                    >; Burghard, Christina (EOIR)                           >
Cc: Jackson, Michael D. (JMD)                         >
Subject: RE: ACACIA Contracts

We need to know why does EOIR want these task orders terminated? Please provide a memo in
writing ASAP.

Thank you,

Michael D. Jackson
Assistant Director, AMG-OBD
JMD Procurement Services Staff
                                                    2
       Admin. Rec.21
              Case 1:25-cv-00298-RDM        Document 65-2          Filed 04/24/25    Page 22 of 41

2 CON Building, 145 N Street, NE, Room 8E.113 Washington, D.C. 20530
Tel:             | Email:

From: Adkins, Nikki N. (EOIR)                        >
Sent: Wednesday, April 9, 2025 3:57 PM
To: Murray, Christina (JMD) <                         >; Ibrahim, Sally S. (JMD)                      >;
Burghard, Christina (EOIR)                            >; Jackson, Michael D. (JMD)                            >
Subject: Re: ACACIA Contracts

We have not contacted them. Can you contact them and let them know of EOIR’s intent? Thank you.


From: Murray, Christina (JMD)
Sent: Wednesday, April 9, 2025 3:34:44 PM
To: Adkins, Nikki N. (EOIR)                        >; Ibrahim, Sally S. (JMD)                      >; Burghard,
Christina (EOIR)                             ; Jackson, Michael D. (JMD)                            >
Subject: RE: ACACIA Contracts

OGC would like to know whether EOIR has been in touch with the Federal Programs attorneys litigating the Amica
case (which requires the 3 day notice). We need to let them know first.

From: Adkins, Nikki N. (EOIR)                        >
Sent: Wednesday, April 9, 2025 3:29 PM
To: Ibrahim, Sally S. (JMD)                          Murray, Christina (JMD)                          >;
Burghard, Christina (EOIR)                              Jackson, Michael D. (JMD)                             >
Subject: RE: ACACIA Contracts

Hi All,

We have been informed that this notification must be made today. Can you please send the notice of
intents today? Thanks - Nikki

From: Adkins, Nikki N. (EOIR)
Sent: Wednesday, April 9, 2025 2:32 PM
To: Ibrahim, Sally S. (JMD)                        ; Murray, Christina (JMD)                          >;
Burghard, Christina (EOIR)                             ; Jackson, Michael D. (JMD)                            >
Subject: ACACIA Contracts

Good Afternoon,

EOIR is requesting the following changes to the ACACIA contract. Thanks - Nikki

Please issue a Notice of Intent to Acacia for the following task orders to be Terminated for
Convenience effective Tuesday, April 15, 2025, at 11:59 p.m.:

         FGLOP
         ICH
         CCI (Fixed Price)
         LOP/LOPC
                                                         3
          Admin. Rec.22
           Case 1:25-cv-00298-RDM       Document 65-2     Filed 04/24/25    Page 23 of 41


Please issue a Notice of Intent to NOT exercise the option year effective 4/30/2025:
    LASRF (Fixed Price)

Please issue a modification effective Tuesday, April 15, 2025, ceasing work on the Nationwide
Policy (NWP) portion of the award. Franco services will continue through the end of the POP of July
31, 2025. Please issue a Notice of Intent to NOT exercise the option year effective July 31, 2025.

      NQRP (Fixed Price)




                                                  4
       Admin. Rec.23
              Case 1:25-cv-00298-RDM             Document 65-2          Filed 04/24/25       Page 24 of 41


Sherwood, Zachary W. (CIV)

From:                              Burghard, Christina (EOIR)
Sent:                              Thursday, April 10, 2025 2:48 PM
To:                                Gorman, Stephanie (EOIR); Flinn, Sarah M. (EOIR)
Subject:                           FW: ACACIA Contracts


FYI

From: Adkins, Nikki N. (EOIR)
Sent: Thursday, April 10, 2025 2:24 PM
To: Jackson, Michael D. (JMD) ; Murray, Christina (JMD) ; Ibrahim, Sally S. (JMD) ; Burghard, Christina (EOIR)
Cc: Higa, Sakura (JMD)
Subject: RE: ACACIA Contracts

Hi Michael,

I have confirmed with Leadership we will not be terminating the IDIQ. Thanks - Nikki

From: Jackson, Michael D. (JMD)
Sent: Thursday, April 10, 2025 1:12 PM
To: Adkins, Nikki N. (EOIR)                              >; Murray, Christina (JMD)                              >;
Ibrahim, Sally S. (JMD)                              >; Burghard, Christina (EOIR)                               >
Cc: Higa, Sakura (JMD)
Subject: RE: ACACIA Contracts

Can you please confirm with your leadership? Also, has EOIR reviewed the letter Christina sent
over? We need to have any comments back ASAP so that we can be ready to move forward.

Michael D. Jackson
Assistant Director, AMG-OBD
JMD Procurement Services Staff
2 CON Building, 145 N Street, NE, Room 8E.113 Washington, D.C. 20530
Tel:                | Email:

From: Adkins, Nikki N. (EOIR)                              >
Sent: Thursday, April 10, 2025 1:10 PM
To: Jackson, Michael D. (JMD)                                   >; Murray, Christina (JMD)                            ;
Ibrahim, Sally S. (JMD)                              >; Burghard, Christina (EOIR)                               >
Cc: Higa, Sakura (JMD)                           >
Subject: RE: ACACIA Contracts

Hi Michael,

Yes, I am under the impression the entire contract will terminate. - Nikki


                                                               1
        Admin. Rec.24
              Case 1:25-cv-00298-RDM      Document 65-2          Filed 04/24/25       Page 25 of 41

From: Jackson, Michael D. (JMD)
Sent: Thursday, April 10, 2025 1:04 PM
To: Adkins, Nikki N. (EOIR)                      >; Murray, Christina (JMD)                                ;
Ibrahim, Sally S. (JMD)                      >; Burghard, Christina (EOIR)
Cc: Higa, Sakura (JMD)                    >; Jackson, Michael D. (JMD)
Subject: RE: ACACIA Contracts

Nikki,

Since we are terminating the task orders, what is the plan for the IDIQ contract? Does EOIR
plan to terminate that contract?

Michael D. Jackson
Assistant Director, AMG-OBD
JMD Procurement Services Staff
2 CON Building, 145 N Street, NE, Room 8E.113 Washington, D.C. 20530
Tel:                | Email:

From: Adkins, Nikki N. (EOIR)                       >
Sent: Thursday, April 10, 2025 11:08 AM
To: Jackson, Michael D. (JMD)                            >; Murray, Christina (JMD)                            ;
Ibrahim, Sally S. (JMD)                       >; Burghard, Christina (EOIR)                               >
Cc: Higa, Sakura (JMD)                    >
Subject: RE: ACACIA Contracts

Hi Michael,

I wanted to check to see which SOW should be modified. There are significant differences in the word
SOW and the PDF SOW. I am noting a few of the discrepancies. Which version would you like modified?
Please advise. Thanks

   -     Page 7 of Word and Page 19 of PDF
   -     Page 8 of Word and Page 20 of PDF
   -     Page 11 of Word and Page 23 of PDF
   -     Page 12 of Word and Page 24 of PDF

From: Jackson, Michael D. (JMD)                             >
Sent: Thursday, April 10, 2025 10:30 AM
To: Adkins, Nikki N. (EOIR)                       >; Murray, Christina (JMD)                              >;
Ibrahim, Sally S. (JMD)                       >; Burghard, Christina (EOIR)                               >
Cc: Jackson, Michael D. (JMD)                            >; Higa, Sakura (JMD)                        >
Subject: RE: ACACIA Contracts

Nikki,

For the NQRP (Fixed Price) 15JPSS22F00000704 action, the following need to happen in order
for the Contracting Officer to take actions:
                                                        2
         Admin. Rec.25
              Case 1:25-cv-00298-RDM     Document 65-2        Filed 04/24/25       Page 26 of 41


   1. The work on the Nationwide Policy (NWP) portion of the award needs to be de-scoped. I
      have provided the SOW for that to take place. Please use track changes to identify what is
      being de-scoped.
   2. PSS will issue a notice to not exercise the next option and inform the Contractor that the
      Franco services will continue through the end of the POP of July 31, 2025.

As soon as we can get the SOW back with the track changes of work that needs to be de-scope
we can move forward with this action.

Michael D. Jackson
Assistant Director, AMG-OBD
JMD Procurement Services Staff
2 CON Building, 145 N Street, NE, Room 8E.113 Washington, D.C. 20530
Tel:                | Email:

From: Adkins, Nikki N. (EOIR)                    >
Sent: Thursday, April 10, 2025 9:38 AM
To: Jackson, Michael D. (JMD) <                       >; Murray, Christina (JMD)                   >;
Ibrahim, Sally S. (JMD)                    >; Burghard, Christina (EOIR)
Subject: RE: ACACIA Contracts

Hi Michael,

Below is the updated information to include the task order numbers.

EOIR is requesting the following changes to the ACACIA contract. Thanks – Nikki

Please issue a Notice of Intent to Acacia for the following task orders to be Terminated for
Convenience effective Tuesday, April 15, 2025, at 11:59 p.m.:

      FGLOP 15JPSS22F00000699
      ICH 15JPSS22F00000701
      CCI (Fixed Price) 15JPSS22F00000700
      LOP/LOPC 15JPSS23F00000154

Please issue a Notice of Intent to NOT exercise the option year effective 4/30/2025:
    LASRF (Fixed Price) 15JPSS24F00000418

Please issue a modification effective Tuesday, April 15, 2025, ceasing work on the Nationwide
Policy (NWP) portion of the award. Franco services will continue through the end of the POP of July
31, 2025. Please issue a Notice of Intent to NOT exercise the option year effective July 31, 2025.

      NQRP (Fixed Price) 15JPSS22F00000704



                                                     3
       Admin. Rec.26
              Case 1:25-cv-00298-RDM        Document 65-2          Filed 04/24/25    Page 27 of 41

From: Jackson, Michael D. (JMD)
Sent: Thursday, April 10, 2025 8:41 AM
To: Adkins, Nikki N. (EOIR)                         ; Murray, Christina (JMD)                         >;
Ibrahim, Sally S. (JMD)                         ; Burghard, Christina (EOIR)                          >
Cc: Jackson, Michael D. (JMD)
Subject: RE: ACACIA Contracts

We need to know why does EOIR want these task orders terminated? Please provide a memo in
writing ASAP.

Thank you,

Michael D. Jackson
Assistant Director, AMG-OBD
JMD Procurement Services Staff
2 CON Building, 145 N Street, NE, Room 8E.113 Washington, D.C. 20530
Tel:                | Email:

From: Adkins, Nikki N. (EOIR)                        >
Sent: Wednesday, April 9, 2025 3:57 PM
To: Murray, Christina (JMD)                           >; Ibrahim, Sally S. (JMD)                      >;
Burghard, Christina (EOIR) <                          >; Jackson, Michael D. (JMD)                            >
Subject: Re: ACACIA Contracts

We have not contacted them. Can you contact them and let them know of EOIR’s intent? Thank you.


From: Murray, Christina (JMD)
Sent: Wednesday, April 9, 2025 3:34:44 PM
To: Adkins, Nikki N. (EOIR)                        >; Ibrahim, Sally S. (JMD)                      >; Burghard,
Christina (EOIR)                            >; Jackson, Michael D. (JMD)
Subject: RE: ACACIA Contracts

OGC would like to know whether EOIR has been in touch with the Federal Programs attorneys litigating the Amica
case (which requires the 3 day notice). We need to let them know first.

From: Adkins, Nikki N. (EOIR)
Sent: Wednesday, April 9, 2025 3:29 PM
To: Ibrahim, Sally S. (JMD)                       >; Murray, Christina (JMD)                          >;
Burghard, Christina (EOIR)                            >; Jackson, Michael D. (JMD)                            >
Subject: RE: ACACIA Contracts

Hi All,

We have been informed that this notification must be made today. Can you please send the notice of
intents today? Thanks - Nikki



                                                         4
          Admin. Rec.27
            Case 1:25-cv-00298-RDM       Document 65-2       Filed 04/24/25      Page 28 of 41

From: Adkins, Nikki N. (EOIR)
Sent: Wednesday, April 9, 2025 2:32 PM
To: Ibrahim, Sally S. (JMD)                   >; Murray, Christina (JMD)                         >;
Burghard, Christina (EOIR)                        >; Jackson, Michael D. (JMD)                        >
Subject: ACACIA Contracts

Good Afternoon,

EOIR is requesting the following changes to the ACACIA contract. Thanks - Nikki

Please issue a Notice of Intent to Acacia for the following task orders to be Terminated for
Convenience effective Tuesday, April 15, 2025, at 11:59 p.m.:

      FGLOP
      ICH
      CCI (Fixed Price)
      LOP/LOPC

Please issue a Notice of Intent to NOT exercise the option year effective 4/30/2025:
    LASRF (Fixed Price)

Please issue a modification effective Tuesday, April 15, 2025, ceasing work on the Nationwide
Policy (NWP) portion of the award. Franco services will continue through the end of the POP of July
31, 2025. Please issue a Notice of Intent to NOT exercise the option year effective July 31, 2025.

      NQRP (Fixed Price)




                                                   5
       Admin. Rec.28
            Case 1:25-cv-00298-RDM           Document 65-2         Filed 04/24/25   Page 29 of 41


Sherwood, Zachary W. (CIV)

From:                           Murray, Christina (JMD)
Sent:                           Thursday, April 10, 2025 3:11 PM
To:                             Burghard, Christina (EOIR)
Subject:                        FW: Notice of Termination - 15JPSS22D00000013
Attachments:                    Notice of Termination - 15JPSS22D00000013.pdf


FYI.

From: Murray, Christina (JMD)
Sent: Thursday, April 10, 2025 3:09 PM
To: Leah Prestamo
Cc: Jackson, Michael D. (JMD)                              >; Higa, Sakura (JMD)                    >
Subject: Notice of Termination - 15JPSS22D00000013

Dear Ms. Prestamo,

Please see the attached notice of termination.

Respectfully,

Christina Y. Murray
Contracting Officer
Procurement Services Staff
Justice Management Division
U.S. Department of Justice
Phone:
Email:




                                                       1
       Admin. Rec.29
     Case 1:25-cv-00298-RDM           Document 65-2        Filed 04/24/25      Page 30 of 41

                                                                    U.S. Department of Justice
                                                                    Justice Management Division
                                                                    Procurement Services Staff
                                                                    Washington, D.C. 20530

 Acacia Center for Justice
 Attn: Leah Prestamo
 1025 Connecticut Ave. Suite 701
 Washington, DC 20036-5417

 Date: April 10, 2025


 Dear Ms. Prestamo,

 SUBJECT: Contract # 15JPSS22D00000013

    1. In accordance with FAR 52.249-2 and FAR 52.249-6, the following task orders are
       terminated for the convenience of the government, effective at 12:01 a.m. on April
       16, 2025:

        15JPSS22F00000699 for Family Group Legal Orientation Program (FGLOP)
        15JPSS22F00000700 for Counsel for Children Initiative (CCI)
        15JPSS22F00000701 for Immigration Court Helpdesk (ICH)
        15JPSS23F00000154 for Legal Orientation Program (LOP) and Legal Orientation
        Program for Custodians (LOPC)

    2. We request that you acknowledge receipt of this termination notice, by signing
       below. A modification confirming this termination will follow.

    3. Our point of contact for this action is the undersigned at                .




                                              Christina Y. Murray
                                              Christina Murray
                                              Contracting Officer

Receipt Acknowledgment:




Leah Prestamo
Acacia Center for Justice




 Admin. Rec.30
             Case 1:25-cv-00298-RDM           Document 65-2         Filed 04/24/25      Page 31 of 41


Sherwood, Zachary W. (CIV)

From:                           Murray, Christina (JMD)
Sent:                           Wednesday, April 16, 2025 8:14 AM
To:                             lprestamoacaciajusti (Vendor)
Cc:                             Jackson, Michael D. (JMD); Burghard, Christina (EOIR)
Subject:                        15JPSS22F00000699 Mod P00007
Attachments:                    15JPSS22F00000699-Mod P00007.pdf


Dear Leah,

Please see the attached modification for your records.

Respectfully,

Christina Y. Murray
Contracting Officer
Procurement Services Staff
Justice Management Division
U.S. Department of Justice
Phone:
Email:




                                                          1
       Admin. Rec.31
    Case 1:25-cv-00298-RDM   Document 65-2   Filed 04/24/25   Page 32 of 41




Admin. Rec.32
             Case 1:25-cv-00298-RDM           Document 65-2         Filed 04/24/25      Page 33 of 41


Sherwood, Zachary W. (CIV)

From:                           Murray, Christina (JMD)
Sent:                           Wednesday, April 16, 2025 8:16 AM
To:                             lprestamoacaciajusti (Vendor)
Cc:                             Jackson, Michael D. (JMD); Burghard, Christina (EOIR)
Subject:                        15JPSS22F00000700 Mod P00006
Attachments:                    15JPSS22F00000700-Mod P00006.pdf


Dear Leah,

Please see the attached modification for your records.

Respectfully,

Christina Y. Murray
Contracting Officer
Procurement Services Staff
Justice Management Division
U.S. Department of Justice
Phone:
Email:




                                                          1
       Admin. Rec.33
    Case 1:25-cv-00298-RDM   Document 65-2   Filed 04/24/25   Page 34 of 41




Admin. Rec.34
             Case 1:25-cv-00298-RDM           Document 65-2         Filed 04/24/25      Page 35 of 41


Sherwood, Zachary W. (CIV)

From:                           Murray, Christina (JMD)
Sent:                           Wednesday, April 16, 2025 8:18 AM
To:                             lprestamoacaciajusti (Vendor)
Cc:                             Jackson, Michael D. (JMD); Burghard, Christina (EOIR)
Subject:                        15JPSS22F00000701 Mod P00009
Attachments:                    15JPSS22F00000701-Mod P00009.pdf


Dear Leah,

Please see the attached modification for your records.

Respectfully,

Christina Y. Murray
Contracting Officer
Procurement Services Staff
Justice Management Division
U.S. Department of Justice
Phone:
Email:




                                                          1
       Admin. Rec.35
    Case 1:25-cv-00298-RDM   Document 65-2   Filed 04/24/25   Page 36 of 41




Admin. Rec.36
             Case 1:25-cv-00298-RDM           Document 65-2         Filed 04/24/25      Page 37 of 41


Sherwood, Zachary W. (CIV)

From:                           Murray, Christina (JMD)
Sent:                           Wednesday, April 16, 2025 8:13 AM
To:                             lprestamoacaciajusti (Vendor)
Cc:                             Jackson, Michael D. (JMD); Burghard, Christina (EOIR)
Subject:                        15JPSS23F00000154 Mod P00004
Attachments:                    15JPSS23F00000154-Mod P00004.pdf


Dear Leah,

Please see the attached modification for your records.

Respectfully,

Christina Y. Murray
Contracting Officer
Procurement Services Staff
Justice Management Division
U.S. Department of Justice
Phone:
Email:




                                                          1
       Admin. Rec.37
    Case 1:25-cv-00298-RDM   Document 65-2   Filed 04/24/25   Page 38 of 41




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     Case 1:25-cv-00298-RDM             Document 65-2   Filed 04/24/25      Page 39 of 41




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                    )
 AMICA CENTER FOR IMMIGRANT                         )
 RIGHTS, et al.,                                    )
                                                    )
                Plaintiffs,                         )
                                                    )
                                                        Civil Action No. 1:25-cv-298-RDM
         v.                                         )
                                                    )
 U.S. DEPARTMENT OF JUSTICE, et al.,                )
                                                    )
                Defendants.                         )
                                                    )



                              DECLARATION OF SIRCE E. OWEN

I, Sirce E. Owen, declare as follows:

1.     I am the Acting Director of the Executive Office for Immigration Review (EOIR) in the

U.S. Department of Justice (DOJ). EOIR’s mission is to adjudicate immigration cases by fairly,

expeditiously, and uniformly interpreting and administering the Nation’s immigration laws. Under

delegated authority from the Attorney General, EOIR conducts immigration court proceedings,

appellate reviews, and administrative hearings. I was appointed EOIR Acting Director in January

2025. Prior to assuming this position, I served as an Appellate Immigration Judge from 2020 to

2025, Assistant Chief Immigration Judge from 2018 to 2020, and Acting Deputy Director of EOIR

from 2019 to 2020.

2.     This declaration is based on my personal knowledge and information made available to me

in the course of my official duties.

3.     Based upon my current and past job duties with EOIR, I am familiar with the Legal

Orientation Program (LOP), the Legal Orientation Program for Custodians of Unaccompanied

Children (LOPC), the Immigration Court Helpdesk (ICH), the Family Group Legal Orientation

                                                1

Admin. Rec.39
     Case 1:25-cv-00298-RDM           Document 65-2        Filed 04/24/25      Page 40 of 41




Program (FGLOP), and the Counsel for Children Initiative (CCI). These programs generally

provide information about immigration court procedures and other basic legal information and

resources to individuals in removal proceedings.

4.     On April 10, 2025, the Justice Management Division (JMD), the DOJ component that

manages contracts on behalf of DOJ, sent a letter to Acacia Center for Justice stating that, “[i]n

accordance with FAR 52.249-2 and FAR 52.249-6,” the operative task orders for LOP, LOPC,

ICH, FGLOP, and CCI “are terminated for the convenience of the government, effective at 12:01

a.m. on April 16, 2025.”

5.     I am familiar with the Attorney General’s Memorandum regarding “Sanctuary Cities

Directives” dated February 5, 2025. Section II of the Memorandum directs Department of Justice

components to identify contracts “with organizations that support or provide services to removable

or illegal aliens” and to submit requested information about those contracts to the Office of the

Associate Attorney General (OASG) for review.           “Upon completion of this process,” the

Memorandum provides that “the Associate Attorney General, in consultation with the Deputy

Attorney General, shall determine which (if any) agreements to terminate and whether to resume

funding of any remaining agreements, consistent with applicable statutes, regulations, and terms.”

6.     EOIR compiled and reviewed certain information regarding recipients of DOJ funding in

accordance with the Attorney General’s Memorandum but did not submit any information about

the contracts for LOP, LOPC, ICH, FGLOP, and CCI to OASG in response to the Memorandum.

At the time the Memorandum was issued on February 5, 2025, EOIR was required to maintain

funding for these five programs to comply with a temporary restraining order from a federal district

court in a separate case. EOIR thus understood that it was not required to submit information

about these programs in response to the Attorney General’s Memorandum. EOIR also did not



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receive any direction or determination to suspend or terminate the contracts for LOP, LOPC, ICH,

FGLOP, and CCI from OASG. In the Department’s organizational structure, and by regulation, 8

C.F.R. § 1003.0(b)(1), EOIR does not report to OASG and does not take direction from OASG.

7.     Accordingly, the April 10, 2025 termination of the operative task orders for LOP, LOPC,

ICH, FGLOP, and CCI was neither prompted by nor the product of the February 5, 2025 Attorney

General Memorandum.



This declaration is made pursuant to 28 U.S.C. § 1746. I declare under penalty of perjury that

the foregoing is true and correct.




Executed on this 24th day of April 2025.



                                              _________________________________________
                                                                               Sirce E. Owen
                                                                             Acting Director
                                                     Executive Office for Immigration Review




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